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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

 In re:                                                            Chapter 7

 JORGE HANE,                                                       Case No. 16-25954-LMI

                  Debtor.
                                         /

BLUE BANK INTERNATIONAL, N.V.;                                     Adv. No: 17-01234-LMI
COLTEFINANCIERA, S.A.

                 Plaintiffs,
          v.

JORGE HANE,

            Defendant.
___________________________________

          NOTICE OF FILING OF STIPULATED DISMISSAL WITH PREJUDICE OF
                       COLTEFINANCIERA, S.A.’S COUNT NO. 1

          WHEREAS Plaintiffs Coltefinanciera, S.A. (“COLTE”) and Blue Bank International, N.V.

(“BLUE BANK”) filed an Amended Adversary Complaint against Defendant-Debtor Jorge Hane

(“HANE”) consisting of three (3) separate counts.

          WHEREBY COLTE wishes to dismiss, with prejudice, Count I and to focus its efforts on

other counts. The parties have stipulated to a dismissal instead of an amendment of the pleadings, so

there is no need for HANE to respond to a further amended complaint.

          NOW THEREFORE, COLTE, BLUE BANK and HANE, through their undersigned

counsel, hereby stipulate to the voluntary dismissal of COLTE’s Count No. 1 in the Amended

Complaint (Bankruptcy Code § 523(a)(2)(A)) with prejudice, and all related allegations. Each party

to bear its own costs and attorney’s fees.

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       This does not affect BLUE BANK’s claim under Count No. 1 or plaintiffs’ allegations in

Count Nos. 2 and 3 (§ § 727(a)(3) and 727(a)(4)(A).

SO STIPULATED:

Date: March 18, 2018                                  /s/ Brian J. Recor
                                                      Brian J. Recor, Esq.
                                                      Florida Bar No. 118392
                                                      RECOR RIEBER, P.A.
                                                      Attorney for Plaintiffs Blue Bank
                                                      International, N.V., and
                                                      Coltefinanciera S.A.
                                                      701 Brickell Avenue, Suite 2280
                                                      Miami, Florida 33131
                                                      Phone: (305) 988-8002
                                                      email: brian@recorrieber.com


Date: March 18, 2018                                  /s/ Michael S. Hoffman
                                                      Michael S. Hoffman, Esq.
                                                      Florida Bar No. 41164
                                                      HOFFMAN, LARIN & AGNETTI, P.A.
                                                      Attorney for Defendant, Jorge Hane
                                                      909 North Miami Beach Blvd., Suite 201
                                                      North Miami, Florida 33162
                                                      Phone: (305) 653-3333
                                                      email: mshoffman@hlalaw.com




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

   CM/ECF on March 19, 2018, on the parties listed below.



                                                       By: /s/ Brian J. Recor
                                                             Brian J. Recor, Esq.
   Electronic Mail Notice List

   The following is the list of parties who are currently on the list to receive email notice/service
   for this case.


17-01234-LMI Notice will be electronically mailed to:

Michael S Hoffman on behalf of Defendant Jorge Hane
Mshoffman@hlalaw.com,
hlaecf@gmail.com;kszolis@hlalaw.com;agarcia@hlalaw.com;mshoffman@ecf.courtdrive.com

Thomas R. Lehman, Esq. on behalf of Plaintiff Blue Bank International, N.V.
trl@lklsg.com, esf@lklsg.com;ar@lklsg.com




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